     Case 18-22856-GLT Doc 17-1 Filed 08/28/18 Entered 08/28/18 13:38:22                                                    Desc Ch 7
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            15222
tr          Jeffrey J. Sikirica        121 Northbrook Drive          Pine Township           Gibsonia, PA 15044
cr          Duquesne Light Company              c/o Bernstein−Burkley, P.C.          707 Grant Street, Suite 2200, Gulf
            Tower         Pittsburgh, PA 15219
cr          Peoples Natural Gas Company LLC               c/o S. James Wallace, P.C.          845 N. Lincoln Ave.        Pittsburgh, PA
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aty         Dai Rosenblum            254 New Castle Road Suite B           Butler, PA 16001−2529
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            15219
aty         S. James Wallace           845 N. Lincoln Avenue          Pittsburgh, PA 15233
smg         Pennsylvania Dept. of Revenue            Department 280946           P.O. Box 280946          ATTN: BANKRUPTCY
            DIVISION            Harrisburg, PA 17128−0946
14882562 Caliber Home Loans                13801 Wingtoss Way          Oklahoma City, OK 73134
14882563 Capital One Bank              P.O. Box 5155          Norcross, GA 30091
14882564 Celtic Bank             P.O. Box 4499         Beaverton, OR 97076
14882565 Credit One Bank              PO Box 98873           Las Vegas, NV 89193
14882566 ECSI            100 Global View Drive            Warrendale, PA 15086
14882567 Fed Loan Servicing               P.O. Box 60610         Harrisburg, PA 17106
14882568 First Premier Bank              3820 N. Louise Avenue          Sioux Falls, SD 57107−0145
14882569 First Premier Bank              P.O. Box 5147         Sioux Falls, SD 57117−5147
14882570 Merrick Bank              P.O. Box 9201          Old Bethpage, NY 11804
14882571 Mid America Bank and Trust                216 W. 2nd Street          Dixon, MO 65459
14882572 Portfolio Recovery Associates              120 Corporate Blvd.          Suite 100        Norfolk, VA 23502
14886672 Pennsylvania Department of Revenue                 Bankruptcy Division P O Box 280946            Harrisburg PA
            17128−0946
14903110 Advanced Integrated Medical               c/o Joel Cardis, LLC         2006 Swede Rd, Ste 100          Norristown, PA
            19401
14903111 Alisha L. Branson              618 Pinefrost Dr        Monroeville, PA 15146
14903112 Ally           PO Box 380902            Minneapolis, MN 55438
14903113 Arcadia            PPO Box 6768            Reading, PA 19610
14903114 ATT Mobility              c/o IC System         PO Box 64437           Saint Paul, MN 55164−0437
14903115 Caliber Home Loans                13801 Wingtoss Way          Oklahoma City, OK 73134
14903116 Capital One Bank              P.O. Box 5155          Norcross, GA 30091
14903117 cdgcsv90             po box 1280          Oaks, PA 19456−1280
14903118 Celtic Bank             P.O. Box 4499         Beaverton, OR 97076
14903119 CIN Legal Data Services               Box 88588          Milwaukee, WI 53288−0588
14903120 Credit One Bank              PO Box 98873           Las Vegas, NV 89193
14903121 DC Govt              c/o Professional Account Management LLC              PO Box 37038          Washington, DC
            20013−7038
14903122 Department of Education               Fed Loan Servicing         P.O. Box 53010          Atlanta, GA 30353−0210
14903123 Duquesne Light Company                 P.O. Box 1930         Pittsburgh, PA 15230−1930
14903124 ECSI            100 Global View Drive            Warrendale, PA 15086
14903125 Elizabeth River Tunnels              c/o Linebarger Goggan Blair & Sampson, L             4828 Loop Central Drive, ste
            600         Houston, TX 77081
14903126 Fed Loan Servicing               P.O. Box 60610         Harrisburg, PA 17106
14903127 First Premier Bank              3820 N. Louise Avenue          Sioux Falls, SD 57107−0145
14903128 First Premier Bank              P.O. Box 5147         Sioux Falls, SD 57117−5147
14903129 gc services            po box 329250         Columbus, OH 43232
14903130 gc services limited partnership            6330 gulfton         Houston, TX 77081
14903131 Genesis FS Card Services               PO Box 4477          Beaverton, OR 97076−4477
14903132 Guardian Protection Services, Inc.             174 Thorn Hill Rd          PA 16086
14903133 Hayt, Hayt & Landau, LLC                P.O. Box 500         Eatontown, NJ 07724−0500
14903134 HESAA               PO Box 528          Newark, NJ 07101−0528
14903135 Internal Revenue Service              Centralized Insolvency Operation          PO Box 7346          Philadelphia, PA
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14903136 Internal Revenue Service              633 US Post Office         Pittsburgh, PA 15219
14903137 Jody J. O'Dell, Esq.             PO Box 540         Sewickley, PA 15143
14903138 Lisa Gerideau−Williams                32112−068          FCI Pekin        2600 S. SECOND ST.           Pekin, IL 61554
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            Building         Monroeville, PA 15146
14903140 Mazda American Credit                Bankruptcy Correspondence           P.O. Box 537901          Livonia, MI
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14903141 Merrick Bank              P.O. Box 9201          Old Bethpage, NY 11804
14903142 merrick bank             po box 660702          Dallas, TX 75266−0702
14903143 Mid America Bank and Trust                216 W. 2nd Street          Dixon, MO 65459
14903144 MJ Kelley Realty Corp               2147 Ardmore Blvd           Pittsburgh, PA 15221
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14903145   Navient Credit        c/o Asset Recovery Solutions LLC            2200 E Devon Ave Ste 200         Des Plaines, IL
           60018−4501
14903146   Nelson, Waatson & Assoc, LLC            80 Merrimack St, Lower Level            Haverhill, MA 01830
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14903148   PA Dept. of Revenue         Bankruptcy Division          Dept. 280946          Harrisburg, PA 17128−0946
14903149   PA Dept. of Revenue         c/o Arcadia         PO Box 6768           Reading, PA 19610
14903150   Paychex         c/o McCarthy Burgess & Wolfe           26000 Cannon Rd            Bedford, OH 44146
14903151   Peoples Gas Bankruptcy Dept.           Attn. Dawn Linder          375 North Shore Drive        Suite
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14903152   Plum Borough Muni Auth            4555 New Texas Rd            Pittsburgh, PA 15239
14903153   Portfolio Recovery Associates         120 Corporate Blvd.           Suite 100       Norfolk, VA 23502
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           15219
14903159   Univ of Pittsburgh Physicians         c/o CBCS         PO Box 2724            Columbus, OH 43216−2724
14903160   US Dept. of Education         c/o ECSI         100 Gloval View Dr           Warrendale, PA 15086
14903161   US Dept. of Education         PO Box 105028           Atlanta, GA 30348−5028
14903162   Verizon         c/o ERC        PO Box 23870          Jacksonville, FL 32241−3870
14903163   Viva Vacation Club         PO Box 96058          Las Vegas, NV 89193
                                                                                                                       TOTAL: 75
